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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA



United States of America,

                   Plaintiff,

v.                                    ORDER
                                      Case No. 20-cr-35 (MJD/KMM)

Alonzo Carter,

                   Defendant.



Joseph S. Teirab, Assistant United States Attorney, Counsel for Plaintiff.

Thomas H. Shiah, Counsel for Defendant.



      The above-entitled matter comes before the Court upon the Report and

Recommendation of United States Magistrate Judge Katherine Menendez dated

September 18, 2020, recommending the Court deny Defendant’s motions to

suppress evidence obtained as a result of illegal searches. Defendant has filed

objections to the Report and Recommendation on the bases that both warrants at

issue were lacking in probable cause and could not be relied upon in good faith.

      Pursuant to statute, the Court has conducted a de novo review of the

record. 28 U.S.C. § 636(b)(1); Local Rule 72.2(b). Based upon that review,

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and in consideration of the applicable law, the Court will adopt the Report

and Recommendation in its entirety.

      IT IS ORDERED:

      1.    The Report and Recommendation dated September 18, 2020 [Doc. No.

48] is ADOPTED;

      2.    Defendant’s Motion to Suppress Any Evidence Obtained as a Result

of any Illegal Searches [Docket No. 21] is DENIED; and

      3.    Defendant’s Supplemental Motion to Suppress any Evidence

Obtained as a Result of any Illegal Searches [Doc. No. 31] is DENIED.




DATED: October 19, 2020                     s/ Michael J. Davis
                                            Michael J. Davis
                                            United States District Court




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